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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


                                              §
                                              §
                                              §
WAG ACQUISITION, L.L.C.,
                                              §
                                              §
                           Plaintiff,
                                              §
       – against –                                 No. 6:21-cv-01083-ADA
                                              §
                                              §    Patent Case
NETFLIX, INC.,                                     Jury Trial Demanded
                                              §
                                              §
                           Defendant.
                                              §
                                              §
                                              §

  JOINT STIPULATION AND ORDER TO TRANSFER THE CASE TO NORTHERN
     DISTRICT OF CALIFORNIA AND VACATE ALL PENDING DEADLINES

       Plaintiff WAG ACQUISITION, L.L.C. (“WAG”) and Defendant NETFLIX, INC.

(“Netflix”) (collectively the “Parties”) have discussed the mandamus order issued from the

Federal Circuit (Dkt. No. 45) in view of Netflix’s Motion To Dismiss or In the Alternative To

Transfer (Dkt. No. 35) and WAG has agreed that it will not oppose Netflix’s motion to transfer

the above-captioned case to the Northern District of California, which upon such transfer, will

render the remainder of the motion moot.

       Further, the Parties jointly stipulate and move this Court for an Order to vacate all

deadlines under this Court’s Standing Orders, federal rules, and/or local rules of this Court,

including without limitation relating to all pending motions.




                                                                           JOINT STIPULATION | 1
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Dated: February 1, 2022



Respectfully submitted,

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                                                                   JOINT STIPULATION | 2
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                                  CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document has been filed on this 1st day of February,

2022, pursuant to the CM/ECF system of the United States District Court for the Western

District of Texas, which provides for service on counsel of record in accordance with the

electronic filing protocols in place.

 Dated: February 1, 2022
                                                 /s/ Sarah S. Brooks
                                                     Sarah S. Brooks




                                                                         JOINT STIPULATION | 3
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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


                                             §
                                             §
WAG ACQUISITION, L.L.C.,                     §
                                             §
                          Plaintiff,         §
                                                     No. 6:21-cv-01083-ADA
       – against –                           §
                                                     Patent Case
                                             §
                                                     Jury Trial Demanded
NETFLIX, INC.,                               §
                                             §
                          Defendant.         §
                                             §
                                             §


                                       ORDER OF THE COURT

Before the Court is the parties’ Joint Stipulation and Order to Transfer the Case to Northern

District of California and Vacate All Pending Deadlines. The Court, having considered the same,

is of the opinion the Stipulation should be GRANTED.

IT IS THEREFORE ORDERED that:

   1. The above-captioned case is transferred to the United States District Court for the Northern

       District of California.



   2. All deadlines in the above-captioned case are vacated, including deadlines under this

       Court’s Standing Orders, federal rules, and/or local rules of this Court, including without

       limitation relating to all pending motions.


DATED: February___, 2022                               ______________________________
                                                       Judge of the United States District Court




                                                                           JOINT STIPULATION | 4
